
NEWMAN, Circuit Judge,
dissenting.
Mr. Hargrove received a letter from the Regional Office dated September 30, 2008, concerning the proposed reduction in his disability rating, enclosing a twelve-page document entitled “Rating Decision” dated September 23, 2008. The Rating Decision listed fifteen points of decision and explanations of each, and designated three conditions subject to compensation and twenty-four conditions not subject to compensation. The accompanying letter contained a paragraph headed “How We Made Our Decision,” which states:
We have carefully considered all of the evidence we received. We have attached a copy of the Rating Decision. It shows the evidence we used and the reasons for our decision.
The letter also stated that Mr. Hargrove could submit additional evidence and request a personal hearing. On October 23, 2008 Mr. Hargrove filed a Notice of Dis*1380agreement, in accordance with the procedures for appealing a Regional Office decision to the Board of Veterans Appeals (“BVA”). He requested a copy of his examination report, which the Regional Office provided. However, the Regional Office did not forward the record to the BVA or provide a Statement of the Case, as required when a Notice of Disagreement is filed:
38 U.S.C. § 7105(d)(1): Where the claimant, or the claimant’s representative, within the time specified in this chapter, files a notice of disagreement with the decision of the agency of original jurisdiction, such agency will take such development or review action as it deems proper under the provisions of regulations not inconsistent with this title. If such action does not resolve the disagreement either by granting the benefit sought or through withdrawal of the notice of disagreement, such agency shall prepare a statement of the case.
On November 29, 2008, Mr. Hargrove filed a second Notice of Disagreement, and on December 1, 2008 he sent a third Notice of Disagreement, with “additional argument regarding his knees and other issues under consideration.” The Regional Office did not respond to any of these three Notices of Disagreement, did not describe any purported flaws in these documents, but also did not transmit the record to the BVA or provide a Statement of the Case. Nor did the Regional Office inform Mr. Hargrove of its action or inaction.
On February 25, 2009, the Regional Office sent Mr. Hargrove a document stating that the reduction in his benefits had been implemented, and that “We have enclosed a copy of our Rating Decision for your review.” This document referred to the “Rating Decision, dated September 23, 2008,” and repeated the evaluations of the evidence of his various conditions. The February 25, 2009 letter referred to Mr. Hargrove’s “statement dated November 30, 2008,” and stated that he “quoted various Department of Veterans Affairs regulations,” and “also noting that you were not properly assessed.” However, the February 25, 2009 letter made no mention of any of the three Notices of Disagreement. The Regional Office did not forward the record to the Board, and did not provide a Statement of the Case.
Mr. Hargrove sought the assistance of the Court of Appeals for Veterans Claims, complaining that the Regional Office had not provided a Statement of the Case and had not forwarded his file to the BVA. In the Veterans Court the VA stated that the reason the Regional Office did not respond to any of the three Notices of Disagreement was because the decision was not final. However, Mr. Hargrove was not so advised at any time in his exchanges with the Regional Office.
A similar lapse of notice was the subject of AG v. Peake, 536 F.3d 1306 (Fed.Cir.2008), where the veteran had submitted a Notice of Disagreement to the Regional Office, received no response, and then sent a second letter to inquire as to the status of the Notice of Disagreement; the Regional Office was unable to find the first letter, but held that appeal was no longer available because the second letter was untimely. This court held that the failure to notify tolled the finality of the Regional Office decision, so that the appeal was not untimely:
The 1985 determination never became final as a result of the failure to notify AG of his right to appeal the denial of his NOD. The letter sent to AG merely *1381stated that there was no record of a previous NOD and that the appeal period for the 1983 decision had expired; it also provided instructions for AG to reopen his claim. The statute, however, states that the VA must provide to a claimant notice of any decision affecting the provision of benefits to a claimant, and that “[t]he notice shall include an explanation of the procedure for obtaining review of the decision.” 38 U.S.C. § 5104(a).
536 F.3d at 1310. The court cited Best v. Brown, 10 Vet.App. 322, 325 (1997), where the Veterans Court held that failure to notify the claimant of a Regional Office decision constituted a procedural error under 38 C.F.R. §§ 3.103(e) and 3.104(a).
Although the Regional Office decision was not totally free of ambiguity, this silence, when there was an obligation to respond, is contrary to the veterans’ laws, contrary to precedent, and contrary to the policy entrusted to the VA and its tribunals. The failure to notify Mr. Hargrove, if the Regional Office was of the view that his three Notices of Disagreement were premature, constituted procedural error. Statute and precedent require “notice of any decision affecting the provision of benefits to a claimant.” AG v. Peake, 536 F.3d at 1310; see also 38 U.S.C. § 5104(a). Such notice was not given to Mr. Har-grove, and no explanation whatsoever was provided until an explanation was suggested — without documentation — by the Secretary’s counsel in this litigation. Nonetheless, my colleagues now simply dismiss the veteran’s petition, declining to consider whether procedural law or policy was violated and declining to enable further proceedings.
The court thus ratifies the VA inaction whereby the three Notices of Disagreement were ignored by the Regional Office, with no notice to the veteran, and now with no path to remedy the VA’s inaction. This departure from the requirements of precedent and statute is an affront to “the principles underlying this uniquely pro-claimant system,” Golz v. Shinseki, 590 F.3d 1317, 1323 (Fed.Cir.2010). I respectfully dissent.
